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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


    In re:                                                         Chapter 11

    WELLPATH HOLDINGS, INC., et al., 1                             Case No. 24-90533 (ARP)

                                 Debtors.                          (Jointly Administered)

                                                                   Ref. Docket Nos. 897, 898, 901 – 903,
                                                                   912, 914, & 916

                                      CERTIFICATE OF SERVICE

I, GEOFF ZAHM, hereby certify that:

1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, with its
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the age
   of eighteen years and am not a party to the above-captioned action.

2. On January 13, 2025, I caused to be served the:

      a. “Debtors’ Omnibus Reply in Support of Debtors’ Emergency Motion for Entry of Interim
         and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the Automatic
         Stay to Non-Debtor Defendants,” dated January 10, 2025 [Docket No. 897], (the “Omnibus
         Reply”),

      b. “Supplemental Declaration of James Seitz as Director of Insurance of Wellpath Holdings,
         Inc. and Certain of its Affiliates and Subsidiaries in Support of the Debtors’ Stay Extension
         Reply,” dated January 10, 2025 [Docket No. 898], (the “Supplemental Declaration”),

      c. “Debtors’ Omnibus Reply in Support of Debtors’ Emergency Motion for Entry of an Order
         (I) Authorizing the Debtors to (A) Honor and Incur Obligations to Professional
         Corporations and (B) Obtain New Professional Corporation Contracts, (II) Extending
         Statutory Protections To Professional Corporations, And (Iii) Granting Related Relief,”
         dated January 10, 2025 [Docket No. 901], (the “Corporations Omnibus Reply”),


1
 A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these chapter 11
cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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d. “Amended Final Order Enforcing the Automatic Stay,” filed on January 10, 2025 [Docket
   No. 902], (the “Amended Stay Order”),

e. “Amended Final Order (I) Authorizing the Debtors to (A) Honor and Incur Obligations to
   Professional Corporations and (B) Obtain New Professional Corporation Contracts, (II)
   Extending Statutory Protections to Professional Corporations, and (III) Granting Related
   Relief,” filed on January 10, 2025 [Docket No. 903], (the “Amended Corporations Order”),

f. “Second Supplemental Declaration of James Seitz as Director of Insurance of Wellpath
   Holdings, Inc. and Certain of its Affiliates and Subsidiaries in Support of the Debtors’
   Omnibus Objection to Motions for Relief From the Automatic Stay and Stay Extension
   Reply,” dated January 12, 2025 [Docket No. 912], (the “2nd Supplemental Declaration”),

g. “Agenda of Matters Set for Hearing on January 14, 2025,” dated January 12, 2025 [Docket
   No. 914], (the “Agenda”), and

h. “Amended Agenda of Matters Set for Hearing on January 14, 2025,” dated January 13,
   2025 [Docket No. 916], (the “Amended Agenda”),

by causing true and correct copies of the:

  i. Omnibus Reply, Supplemental Declaration, Corporations Omnibus Reply, Amended
     Stay Order, Amended Corporations Order, and 2nd Supplemental Declaration to be
     enclosed securely in separate postage pre-paid envelopes and delivered via first class
     mail to those parties listed on the annexed Exhibit A, and to 25 parties whose names and
     addresses are confidential and therefore not included,

 ii. Omnibus Reply to be enclosed securely in separate postage pre-paid envelopes and
     delivered via first class mail to those parties listed on the annexed Exhibit B,

 iii. Supplemental Declaration, Amended Stay Order, and 2nd Supplemental Declaration to
      be enclosed securely in separate postage pre-paid envelopes and delivered via first class
      mail to those parties listed on the annexed Exhibit C, and to 4 parties whose names and
      addresses are confidential and therefore not included,
 iv. Corporations Omnibus Reply and Amended Corporations Order to be enclosed securely
      in separate postage pre-paid envelopes and delivered via first class mail to those parties
      listed on the annexed Exhibit D,
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     v. Omnibus Reply, Supplemental Declaration, Corporations Omnibus Reply, Amended
        Stay Order, Amended Corporations Order, 2nd Supplemental Declaration, Agenda, and
        Amended Agenda to be delivered via electronic mail to those parties listed on the
        annexed Exhibit E,

    vi. Omnibus Reply, Agenda, and Amended Agenda to be delivered via electronic mail to
        those parties listed on the annexed Exhibit F,

    vii. Supplemental Declaration, Amended Stay Order, 2nd Supplemental Declaration, Agenda,
         and Amended Agenda to be delivered via electronic mail to those parties listed on the
         annexed Exhibit G, and

   viii. Corporations Omnibus Reply, Amended Corporations Order, Agenda, and Amended
         Agenda to be delivered via electronic mail to: lmcbryan@mcbryanlaw.com and
         rshannon@shannonleellp.com.

3. All envelopes utilized in the service of the foregoing contained the following legend: “LEGAL
   DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF ADDRESSEE,
   PRESIDENT OR LEGAL DEPARTMENT.”

                                                               /s/ Geoff Zahm
                                                               Geoff Zahm
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                        EXHIBIT A
                                                     WELLPATH
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                                           SERVICE LIST

Claim Name                              Address Information
ALPINE CA BEHAVIORAL HOLDCO, LLC        2120 ALPINE BLVD ALPINE CA 91901
AU MEDICAL CENTER INC.                  1120 15TH STREET BA-2612 AUGUSTA GA 30912
BROWARD HEALTH                          MANAGED CARE DEPARTMENT 1608 S.E. 3RD AVENUE, SUITE 508 FORT LAUDERDALE FL
                                        33316
BROWARD HEALTH MEDICAL CENTER           ATTN: PRESIDENT/CEO/GENERAL COUNSEL 1800 NW 49TH STREET, SUITE 100 FORT
                                        LAUDERDALE FL 33309
CRISP REGIONAL HOSPITAL                 902 7TH ST N CORDELE GA 31015
FLORIDA HOSPITAL WATERMAN               1000 WATERMAN WAY TAVARES FL 32778-5266
FRESNO COMMUNITY HOSPITAL AND MEDICAL   2823 FRESNO ST FRESNO CA 93721-1324
CENTER
HCA FLORIDA NORTHWEST HOSPITAL          2801 N STATE RD 7 MARGATE FL 33063-5596
MEDICAL CENTER OF CENTRAL GEORGIA, INC. 777 HEMLOCK ST MACON GA 31201
MEMORIAL UNIVERSITY MEDICAL CENTER -    4700 WATERS AVE SAVANNAH GA 31404-6220
SAVANNAH
NORTHERN MARIANA ISLANDS ATTORNEY       ATTN: EDWARD MANIBUSAN CALLER BOX 10007 SAIPAN MP 96950-8907
GENERAL
OFFICE OF THE UNITED STATES ATTORNEY    SOUTHERN DISTRICT OF TEXAS, WELLS FARGO PLAZA, 1000 LOUISIANA ST #2300 HOUSTON
FOR THE                                 TX 77002
PIEDMONT AUGUSTA HOSPITAL               1350 WALTON WAY AUGUSTA GA 30901-2612
SELECT SPECIALTY HOSPITAL - AUGUSTA     1537 WALTON WAY AUGUSTA GA 30904-3764
INC.
SHAWN KITCHEN                           116 BOULEVARD OF THE ALLIES O'BRIEN COLEMAN & WRIGHT LLC PITTSBURGH PA 15222
SPALDING REGIONAL HOSPITAL, INC.        601 S 8TH ST GRIFFIN GA 30224-4213
ST. JOSEPH MERCY HOSPITAL               5301 E HURON RIVER DR ANN ARBOR MI 48106-0993
STATE OF ALABAMA ATTORNEY GENERAL       ATTN: STEVE MARSHALL 501 WASHINGTON AVE MONTGOMERY AL 36104
STATE OF ALABAMA ATTORNEY GENERAL       ATTN: STEVE MARSHALL PO BOX 300152 MONTGOMERY AL 36130-0152
STATE OF AMERICAN SAMOA ATTORNEY        ATTN: FAINU'ULELEI FALEFATU ALA'ILIMA-UTU AMERICAN SAMOA GOV'T, EXEC OFC BLDG
GENERAL                                 UTULEI, TERRITORY OF AMERICAN SAMOA PAGO PAGO AS 96799
STATE OF CALIFORNIA ATTORNEY GENERAL    ATTN: ROB BONTA 1300 'I' ST SACRAMENTO CA 95814-2919
STATE OF CALIFORNIA ATTORNEY GENERAL    CONSUMER PROTECTION SECTION ATTN: BANKRUPTCY NOTICES 455 GOLDEN GATE AVE.,
                                        STE. 11000 SAN FRANCISCO CA 94102-7004
STATE OF FLORIDA ATTORNEY GENERAL       ATTN: ASHLEY MOODY PL 01 THE CAPITOL TALLAHASSEE FL 32399-1050
STATE OF ILLINOIS ATTORNEY GENERAL      ATTN: KWAME RAOUL 100 W RANDOLPH ST CHICAGO IL 60601
STATE OF INDIANA ATTORNEY GENERAL       ATTN: TODD ROKITA INDIANA GOVERNMENT CENTER SOUTH 302 W WASHINGTON ST, 5TH FL
                                        INDIANAPOLIS IN 46204
STATE OF KANSAS ATTORNEY GENERAL        ATTN: KRIS W. KOBACH 120 SW 10TH AVE, 2ND FL TOPEKA KS 66612
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STATE OF MASSACHUSETTS ATTORNEY GENERAL ATTN: ANDREA JOY CAMPBELL 1 ASHBURTON PLACE, 20TH FL BOSTON MA 02108-1518
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STATE OF MISSISSIPPI ATTORNEY GENERAL   ATTN: LYNN FITCH PO BOX 220 JACKSON MS 39205
STATE OF MONTANA ATTORNEY GENERAL       ATTN: AUSTIN KNUDSEN JUSTICE BLDG 215 N SANDERS ST HELENA MT 59601
STATE OF NEW JERSEY ATTORNEY GENERAL    ATTN: MATTHEW J. PLATKIN RJ HUGHES JUSTICE COMPLEX 25 MARKET ST - PO BOX 080
                                        TRENTON NJ 08625-0080
STATE OF NEW MEXICO ATTORNEY GENERAL    ATTN: RAUL TORREZ 408 GALISTEO ST VILLAGRA BLDG SANTA FE NM 87501
STATE OF NEW YORK ATTORNEY GENERAL      ATTN: LETITIA A. JAMES DEPT. OF LAW THE CAPITOL, 2ND FL ALBANY NY 12224-0341
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GENERAL
STATE OF NORTH CAROLINA ATTORNEY        ATTN: JOSH STEIN PO BOX 629 RALEIGH NC 27602-0629
GENERAL
STATE OF TEXAS ATTORNEY GENERAL         ATTN: KEN PAXTON PO BOX 12548 AUSTIN TX 78711-2548
STATE OF VIRGINIA ATTORNEY GENERAL      ATTN: JASON MIYARES 202 N NINTH ST RICHMOND VA 23219



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                                                   WELLPATH
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                                              SERVICE LIST

Claim Name                            Address Information
STATE OF WYOMING ATTORNEY GENERAL     ATTN: BRIDGET HILL 109 STATE CAPITAL 200 W. 24TH ST CHEYENNE WY 82002
THE MEDICAL CENTER                    710 CENTER ST COLUMBUS GA 31901-1527




                               Total Creditor count: 40




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                        EXHIBIT B
                                                     WELLPATH
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                                             SERVICE LIST

Claim Name                              Address Information
ALAMDAR S. HAMDANI & DANIEL D. HU       ASSISTANT UNITED STATES ATTORNEY SOUTHERN DISTRICT OF TEXAS 1000 LOUISIANA,
                                        SUITE 2300 HOUSTON TX 77002
BEHAR, GUTT & GLAZER, P.A.              1855 GRIFFIN ROAD, SUITE A-350 BRIAN S. BEHAR FT. LAUDERDALE FL 33004
CROWE & DUNLEVY, P.C.                   CHRISTOPHER M. STAINE 2525 MCKINNON STREET, SUITE 425 DALLAS TX 75201
ELAN S. LEVEY, SHAINA C. ST JOHN & ERIN ASSISTANT UNITED STATES ATTORNEY CENTRAL DISTRICT OF CALIFORNIA 300 NORTH LOS
CHOI                                    ANGELES STREET, SUITE 7516 LOS ANGELES CA 90012
EMERY CELLI BRINCKERHOFF ABADY WARD &   KATHERINE ROSENFELD & ARIADNE M. ELLSWORTH 600 5TH AVE., FL. 10 NEW YORK NY
MAAZEL LLP                              10020
FORSHEY & PROSTOK, LLP                  JEFF P. PROSTOK 777 MAIN STREET, SUITE 1290 FT. WORTH TX 76102
HOGAN LOVELLS US LLP                    DAVID NEWMANN, VIRGINIA GIBSON ELIJAH FREEMAN & KAYLA FISHER 1735 MARKET
                                        STREET 23RD FLOOR PHILADELPHIA PA 19103
HOGAN LOVELLS US LLP                    JOHN D. BECK 609 MAIN ST SUITE 4200 HOUSTON TX 77002
HOQ LAW APC                             LABONI A. HOQ P.O. BOX 753 PASADENA CA 91030
K&L GATES LLP                           ARTOUSH VARSHOSAZ 1717 MAIN STREET - SUITE 2800 DALLAS TX 75201
K&L GATES LLP                           BRANDY A. SARGENT ONE SW COLUMBIA ST., SUITE 1900 PORTLAND OR 97204
LAW OFFICES OF STACY TOLCHIN            STACY TOLCHIN & MEGAN BREWER 776 E. GREEN ST., SUITE 210 PASADENA CA 91101
MCBRYAN, LLC                            LOUIS G. MCBRYAN PEACHTREE DUNWOODY ROAD BUILDING B-3, SUITE 100 ATLANTA GA
                                        30328
MEHAFFY WEBER, P.C.                     HOLLY C. HAMM & BLAKE HAMM P.O. BOX 16 BEAUMONT TX 77704
MIZNER LAW FIRM                         JOSEPH CAULFIELD 311 WEST SIXTH STREET ERIE PA 16507
NATIONAL IMMIGRATION PROJECT            KHALED ALRABE 1201 CONNECTICUT AVE NW SUITE 531 #896645 WASHINGTON DC 20036
SHANNON & LEE LLP                       R. J. SHANNON 2100 TRAVIS STREET, STE 1525 HOUSTON TX 77002




                               Total Creditor count: 17




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                        EXHIBIT C
                                                      WELLPATH
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                                           SERVICE     TXSB on 01/14/25 Page 10 of 21

Claim Name                               Address Information
BEHAR, GUTT & GLAZER, P.A.               ATTORNEYS FOR GRACIENNE & DANIEL MYERS DCOTA 1855 GRIFFIN ROAD, SUITE A-350
                                         FT. LAUDERDALE FL 33004
FORSHEY & PROSTOK, LLP                   JEFF P. PROSTOK 777 MAIN STREET, SUITE 1290 FT. WORTH TX 76102
JESSICA WINTERS                          THE WINTERS LAW GROUP LLC 432 S. BROADWAY, SUITE 2B LEXINGTON KY 40508
LAW OFFICES OF JEROME A. CLAY            JEROME A. CLAY, JR., ESQ. 5250 CLAREMONT AVENUE, SUITE 221 STOCKTON CA 95207
LAW OFFICES OF MILLER & MALLETT          1601 BROADWAY LITTLE ROCK AR 72206
SALVI, SCHOSTOK & PRITCHARD P.C.         218 N. MARTIN LUTHER KING JR., AVE. WAUKEGAN IL 60085
SPEARMAN LEGAL FIRM, P.C.                ADRIAN C. SPEARMAN 3560 W. CAMP WISDOM RD., SUITE 200 DALLAS TX 75237




                                  Total Creditor count: 7




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                         EXHIBIT D
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                           WELLPATH HOLDINGS, INC., et al .,
                                  Case No. 24-90533 (ARP)
                           First Class Mail Additional Service List


McBRYAN, LLC
Louis G. McBryan
6849 Peachtree Dunwoody Road
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Atlanta, GA 30328

SHANNON & LEE LLP
R. J. Shannon
2100 Travis Street, STE 1525
Houston, TX 77002




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                         EXHIBIT E
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                     WELLPATH HOLDINGS, INC., et al .,
                          Case No. 24-90533 (ARP)
                      Electronic Mail Master Service List
Creditor Name                                         Email Address
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                                                      salberino@akingump.com;
                                                      mbrimmage@akingump.com;
                                                      kdoorley@akingump.com;
AKIN GUMP STRAUSS HAUER & FELD LLP                    taylorb@akingump.com
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                                                      paul.cardinale@cardinalefayardlaw.com;
                                                      greg.fayard@cardinalefayardlaw.com;
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DIAMOND DRUGS, INC.                                   gsleis@diamondpharmacy.com

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                                                      rmatthews@fbtlaw.com;
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                                                      ddloving@gct.law;
                                                      sjrosenberg@gct.law;
                                                      skdunkley@gct.law;
GOLAN CHRISTIE TAGLIA LLP                             ddsamz@gct.law



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                      WELLPATH HOLDINGS, INC., et al .,
                           Case No. 24-90533 (ARP)
                       Electronic Mail Master Service List
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JANELLE BUTTERFIELD                                john@johndevlinlaw.com
KATTEN MUCHIN ROSENMAN LLP                         Yelena.archiyan@katten.com
KESSLER COLLINS, PC                                Hrubin@kesslercollins.com
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                                                   austin.bankruptcy@lgbs.com;
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                                                   mcollinstrustee@manierherod.com;
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MCLAREN GREATER LANSING                            contact@mclaren.org
                                                   HollyHamm@mehaffyweber.com;
MehaffyWeber                                       BlakeHamm@mehaffyweber.com
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                                                   bfunk@munsch.com;
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                                                   bob.bruner@nortonrosefulbright.com;
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PARMET PC                                          matt@parmet.law
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PUBLIC JUSTICE                                     jaosorno@publicjustice.net
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SHELBY CO HEALTHCARE CORP DBA REGIONAL
ONE HEALTH                             kericksen@regionalonehealth.org



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                     WELLPATH HOLDINGS, INC., et al .,
                          Case No. 24-90533 (ARP)
                      Electronic Mail Master Service List
Creditor Name                                    Email Address
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STATE OF ARKANSAS ATTORNEY GENERAL               oag@arkansasag.gov
STATE OF COLORADO ATTORNEY GENERAL               attorney.general@coag.gov

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STATE OF DELAWARE ATTORNEY GENERAL               attorney.general@delaware.gov
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STATE OF SOUTH CAROLINA ATTORNEY
GENERAL                                odcmail@sccourts.org

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STATE OF UTAH ATTORNEY GENERAL         bankruptcy@agutah.gov
STATE OF VERMONT ATTORNEY GENERAL      ago.info@vermont.gov

STATE OF WASHINGTON ATTORNEY GENERAL             serviceatg@atg.wa.gov




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                     WELLPATH HOLDINGS, INC., et al .,
                          Case No. 24-90533 (ARP)
                      Electronic Mail Master Service List
Creditor Name                                      Email Address

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STATE OF WISCONSIN ATTORNEY GENERAL     dojbankruptcynoticegroup@doj.state.wi.us
                                        nicholas.zluticky@stinson.com;
                                        zachary.hemenway@stinson.com;
STINSON LLP                             lucas.schneider@stinson.com
THE WINTERS LAW GROUP LLC               jessica@thewinterslawgroup.com
TOGUT, SEGAL & SEGAL LLP                frankoswald@teamtogut.com
                                                   evelyn.meltzer@troutman.com;
                                                   dabney.carr@troutman.com;
                                                   sarah.bures@troutman.com;
Troutman Pepper Hamilton Sanders LLP               chelsey.noble@troutman.com
U.S VIRGIN ISLANDS ATTORNEY GENERAL                info@usvidoj.com
UP HEALTH SYSTEM - MARQUETTE                       upmarquette@verisma.com
                                                   catherine.curtis@wickphillips.com;
WICK PHILLIPS GOULD & MARTIN, LLP                  jason.rudd@wickphillips.com
Texas Attorney General's Office                    kimberly.walsh@oag.texas.gov
MEYERS, RODBELL & ROSENBAUM, P.A.                  BDEPT@MRRLAW.NET
                                                   pjennings@bassberry.com;
                                                   eal-nimri@bassberry.com;
Bass, Berry & Sims PLC                             sara.morgan@bassberry.com
Waldron & Schneider, PLLC                          kbartley@ws-law.com
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                         EXHIBIT F
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